                        2:22-cv-02061-CSB-EIL # 1           Page 1 of 15
                                                                                                        E-FILED
                                                                       Tuesday, 22 March, 2022 10:52:21 PM
                                                                              Clerk, U.S. District Court, ILCD

                           UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF ILLINOIS
                                 URBANA DIVISION

Conrad Raczkowski, individually and on                              2:22-cv-02061
behalf of all others similarly situated,
                                 Plaintiff,

                   - against -                                 Class Action Complaint

Pinnacle Foods Inc.,
                                                                Jury Trial Demanded
                                 Defendant

       Plaintiff alleges upon information and belief, except for allegations pertaining to Plaintiff,

which are based on personal knowledge:


       1.    Pinnacle Foods Inc. (“Defendant”) manufactures, labels, markets, and sells vegetable

oil spread promoted as “Made With Olive Oil,” with green-themed packaging under its Earth

Balance brand (“Product”).
                           2:22-cv-02061-CSB-EIL # 1           Page 2 of 15




          2.    The representations include “Soy Free,” “Non-GMO,” “Vegan,” “Made With Olive

Oil,” “Buttery Spread,” “Earth Balance,” and “78% Vegetable Oils.”

I.    VEGETABLE OIL SPREADS

          3.    Since the dawn of recorded history, humas have enjoyed butter, made from cream

and salt, on a farm.

          4.    For the past 150 years, imitators of butter have sold yellow-colored blends of beef

tallow and vegetable oil to consumers, through the product known as margarine, required to have

80% or more fat.

          5.    Where these non-dairy blends are less than 80% fat, they are referred to as “spreads.”

          6.    Vegetable oil traditionally refers to oils such as corn oil, canola oil, cottonseed oil,

palm oil, safflower oil, sesame oil, soybean oil and sunflower oil.

          7.    According to the USDA, annual consumption of margarine and spreads recently

reached its lowest level since the 1940s, at roughly three pounds per person.

          8.    In contrast, the average person now consumes almost six pounds of butter per year,

the highest level in close to 50 years.

          9.    There are several reasons for these changes.

          10.   First, as confirmed by research firm Mintel, “consumers [are] increasingly turn[ing]

to butter over margarine/spreads for its natural appeal,” and a “preference for less processed

foods.”

          11.   Butter is made with simple, natural ingredients like cream and salt.

          12.   Butter is made by churning cow’s milk, without chemicals or additives.

          13.   In contrast, vegetable oils are heavily refined in the presence of chemical catalysts

such as nickel and cadmium.



                                                    2
                         2:22-cv-02061-CSB-EIL # 1           Page 3 of 15




       14.    Second, consumers are more aware of the healthier profile of butter compared to

vegetable oil alternatives.

       15.    Butter contains heart health(ier) fats, while vegetable oils contain harmful trans fats,

a result of hydrogenation and interesterification.

       16.    Butter also contains calcium, and vitamins A and D.

       17.    Vegetable oils have no comparable nutritional value as a result of the intense

processing needed to render them palatable.

       18.    Third, vegetable oil spreads are considered ultraprocessed foods (“UPF”), frowned

upon by nutrition authorities and public health bodies.

       19.    To counter this decline of vegetable oil spreads, companies are increasingly

incorporating alternative oils like olive oil to meet consumer demand.

II.   CONSUMER DEMAND FOR OLIVE OIL

       20.    Olive oil is the juice of crushed olives without additives or harsh processing.

       21.    Whereas vegetable oils have no flavor or aroma, olive oil is known for its peppery

and grassy taste.

       22.    Over the past several decades, olive oil has increased in popularity and its sales

exceed all other vegetable oils combined.

       23.    The popularity of olive oil has been helped by its association with the Mediterranean

Diet, confirmed by scientific studies showing it reduces health risks.

       24.    Olive oil has high levels of heart-healthy fats, such as polyunsaturated and

monounsaturated fat, which help control cholesterol

       25.    Olive oil contains antioxidants, which promote immunity, and fight free radical

damage to help slow down the aging process.



                                                  3
                          2:22-cv-02061-CSB-EIL # 1          Page 4 of 15




       26.      Olive oil promotes brain function, bone strength, and balanced blood sugar.

       27.      The oleic acid and phenols in olive oil are linked to prevention of skin, breast and

colon cancer.

III. REPRESENTATION OF “MADE WITH OLIVE OIL” IS MISLEADING

       28.      Defendant markets the Product to the increasing numbers of Americans seeking to

consume staple foods with ingredients known for providing health benefits, like olive oil.

       29.      By representing the Product as “Made With Olive Oil,” with green label statements

and packaging, and promoted as “Non-GMO” and “Vegan,” consumers expect it contains a

significant, non-de minimis amount of olive oil, in relative and absolute amounts to all oils used.

       30.      However, the ingredient list reveals a smaller than expected amount of olive oil, in

absolute and relative terms.

                                               INGREDIENTS: VEGETABLE OIL BLEND

                                               (PALM      FRUIT,      CANOLA,       SAFFLOWER,

                                               EXTRA VIRGIN OLIVE, AND FLAX OILS),

                                               WATER, CONTAINS LESS THAN 2% OF

                                               SALT, NATURAL FLAVOR, PEA PROTEIN,

                                               SUNFLOWER LECITHIN, LACTIC ACID (TO

                                               PROTECT           FRESHNESS),          ANNATTO

                                               EXTRACT (COLOR)


       31.      That the Product contains a de minimis amount of olive oil is revealed from the

ingredient list, with the first ingredient identified as a “Vegetable Oil Blend.”

       32.      The components of this ingredient are listed in order of predominance by weight,

which shows more “palm fruit, canola, [and] safflower” oils than “extra virgin olive [oil].”


                                                  4
                          2:22-cv-02061-CSB-EIL # 1            Page 5 of 15




        33.   The amount of olive oil only exceeds the flax oils.

        34.   The small relative and absolute amount of olive oil is misleading in light of the front

label claim the Product is “Made With Olive Oil.

        35.   The amount of olive oil is insufficient to confer any of the health benefits associated

with olive oil or deliver the taste of olive oil.

        36.   The non-olive oil components of the vegetable oil blend – palm, canola, safflower

and flax oils – lack the health and nutritional attributes of olive oil.

IV.   CONCLUSION

        37.   Defendant makes other representations and omissions with respect to the Product

which are false and misleading.

        38.   Reasonable consumers must and do rely on a company to honestly and lawfully

market and describe the components, attributes, and features of a product, relative to itself and

other comparable products or alternatives.

        39.   The value of the Product that Plaintiff purchased was materially less than its value

as represented by Defendant.

        40.   Defendant sold more of the Product and at higher prices than it would have in the

absence of this misconduct, resulting in additional profits at the expense of consumers.

        41.   Had Plaintiff and proposed class members known the truth, they would not have

bought the Product or would have paid less for it.

        42.   As a result of the false and misleading representations, the Product is sold at a

premium price, approximately no less than no less than $3.49 per 13 OZ, excluding tax and sales,

higher than similar products, represented in a non-misleading way, and higher than it would be

sold for absent the misleading representations and omissions.



                                                    5
                           2:22-cv-02061-CSB-EIL # 1           Page 6 of 15




                                            Jurisdiction and Venue

          43.   Jurisdiction is proper pursuant to Class Action Fairness Act of 2005 (“CAFA”). 28

U.S.C. § 1332(d)(2).

          44.   The aggregate amount in controversy exceeds $5 million, including any statutory

damages, exclusive of interest and costs.

          45.   Plaintiff Conrad Raczkowski is a citizen of Illinois.

          46.   Defendant Pinnacle Foods Inc. is a Delaware corporation with a principal place of

business in Parsippany, Morris County, New Jersey.

          47.   The class of persons Plaintiff seeks to represent includes persons who are citizens of

different states from which Defendant is a citizen

          48.   The members of the class Plaintiff seeks to represent are more than 100, because the

Product has been sold for several years, with the representations described here, in thousands of

locations, in the states covered by Plaintiff’s proposed classes.

          49.   The Product is available to consumers from third-parties, which includes grocery

stores, dollar stores, warehouse club stores, drug stores, convenience stores, big box stores, and

online.

          50.   Venue is in the Urbana Division in this District because a substantial part of the

events or omissions giving rise to these claims occurred in Kankakee, including Plaintiff’s

purchase, consumption, and/or use of the Product and awareness and/or experiences of and with

the issues described here.

                                                Parties

          51.   Plaintiff Conrad Raczkowski is a citizen of Kankakee, Kankakee, Illinois.

          52.   Defendant Pinnacle Foods Inc. is a Delaware corporation with a principal place of




                                                   6
                           2:22-cv-02061-CSB-EIL # 1        Page 7 of 15




business in Parsippany, New Jersey, Morris County.

          53.   Earth Balance was started over twenty years ago in Boulder, Colorado.

          54.   The company’s founding principles were based on using plant-based ingredients, to

improve health, the environment, and society.

          55.   The Earth Balance brand is self-described as “Ethically Plant-Made,” defined as

“mak[ing] things from plants,” in addition to “integrity, mindfulness, and making a positive

impact.”

          56.   Earth Balance promotes “Plant-based diets a[s] recognized as having a reduced

carbon footprint compared to animal-based diets.”

          57.   This emphasis on plant-based foods and integrity have made Earth Balance one of

the most trusted brands.

          58.   Consumers of vegetable oil spreads trust Earth Balance to be honest with them,

because it has built up a reservoir of good will when it comes to plant-based foods and including

healthy ingredients like olive oil in its products.

          59.   The Product is available to consumers from third-parties, which includes grocery

stores, dollar stores, warehouse club stores, drug stores, convenience stores, big box stores, and

online.

          60.   Plaintiff purchased the Product on one or more occasions within the statutes of

limitations for each cause of action alleged, at stores including Meijer, 990 N Kinzie Ave Bradley

IL 60915-1233 between December 31, 2021, and January 31, 2022, and/or among other times.

          61.   Plaintiff believed and expected the Product was made with a non-de minimis and/or

predominant amount of olive oil, as opposed to containing mainly palm and canola oil because

that is what the representations and omissions said and implied.




                                                      7
                          2:22-cv-02061-CSB-EIL # 1            Page 8 of 15




       62.     Plaintiff relied on the words, terms coloring, descriptions, layout, packaging, tags,

and/or images on the Product, on the labeling, statements, omissions, claims, statements, and

instructions, made by Defendant or at its directions, in digital, print and/or social media, which

accompanied the Product and separately, through in-store, digital, audio, and print marketing.

       63.     Plaintiff bought the Product at or exceeding the above-referenced price.

       64.     Plaintiff would not have purchased the Product if he knew the representations and

omissions were false and misleading or would have paid less for it.

       65.     Plaintiff chose between Defendant’s Product and products represented similarly, but

which did not misrepresent their attributes, requirements, instructions, features, and/or

components.

       66.     The Product was worth less than what Plaintiff paid and he would not have paid as

much absent Defendant's false and misleading statements and omissions.

       67.     Plaintiff intends to, seeks to, and will purchase the Product again when he can do so

with the assurance the Product's representations are consistent with its abilities, attributes, and/or

composition.

       68.     Plaintiff is unable to rely on the labeling and representations not only of this Product,

but other similar vegetable oil spreads containing desired ingredients like olive oil, because he is

unsure whether those representations are truthful.

                                           Class Allegations

       69.     Plaintiff seeks certification under Fed. R. Civ. P. 23 of the following classes:

                        Illinois Class: All persons in the State or federal
                        district of Illinois who purchased the Product during
                        the statutes of limitations for each cause of action
                        alleged; and

                        Consumer Fraud Multi-State Class: All persons in
                        the States of Arkansas, Iowa, Utah, West Virginia,


                                                   8
                         2:22-cv-02061-CSB-EIL # 1           Page 9 of 15




                       Idaho, Alaska, and Montana who purchased the
                       Product during the statutes of limitations for each
                       cause of action alleged.

       70.    Common questions of issues, law, and fact predominate and include whether

Defendant’s representations were and are misleading and if Plaintiff and class members are entitled

to damages.

       71.    Plaintiff's claims and basis for relief are typical to other members because all were

subjected to the same unfair, misleading, and deceptive representations, omissions, and actions.

       72.    Plaintiff is an adequate representative because his interests do not conflict with other

members.

       73.    No individual inquiry is necessary since the focus is only on Defendant’s practices

and the class is definable and ascertainable.

       74.    Individual actions would risk inconsistent results, be repetitive and are impractical

to justify, as the claims are modest relative to the scope of the harm.

       75.    Plaintiff's counsel is competent and experienced in complex class action litigation

and intends to protect class members’ interests adequately and fairly.

       76.    Plaintiff seeks class-wide injunctive relief because the practices continue.

                  Illinois Consumer Fraud and Deceptive Business Practices Act
                                (“ICFA”), 815 ILCS 505/1, et seq.

                                  (Consumer Protection Statute)

       77.    Plaintiff incorporates by reference all preceding paragraphs.

       78.    Plaintiff believed was made with a non-de minimis and/or predominant amount of

olive oil, as opposed to containing mainly palm and canola oil.

       79.    Defendant’s false, misleading and deceptive representations and omissions are

material in that they are likely to influence consumer purchasing decisions.



                                                  9
                        2:22-cv-02061-CSB-EIL # 1          Page 10 of 15




       80.    Defendant misrepresented the Product through statements, omissions, ambiguities,

half-truths and/or actions.

       81.    Plaintiff relied on the representations and omissions to believe the Product was made

with a non-de minimis and/or predominant amount of olive oil, as opposed to containing mainly

palm and canola oil.

       82.    Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                              Violation of State Consumer Fraud Acts

                       (On Behalf of the Consumer Fraud Multi-State Class)


       83.    The Consumer Fraud Acts of the States in the Consumer Fraud Multi-State Class are

similar to the consumer protection statute invoked by Plaintiff and prohibit the use of unfair or

deceptive business practices in the conduct of commerce.

       84.    The members of the Consumer Fraud Multi-State Class reserve their rights to assert

their consumer protection claims under the Consumer Fraud Acts of the States they represent

and/or the consumer protection statute invoked by Plaintiff.

       85.    Defendant intended that members of the Consumer Fraud Multi-State Class would

rely upon its deceptive conduct.

       86.    As a result of Defendant’s use of artifice, and unfair or deceptive acts or business

practices, the members of the Consumer Fraud Multi-State Class sustained damages.

       87.    Defendant’s conduct showed motive and a reckless disregard of the truth such that

an award of punitive damages is appropriate.




                                                10
                         2:22-cv-02061-CSB-EIL # 1          Page 11 of 15




                                    Breaches of Express Warranty,
                Implied Warranty of Merchantability/Fitness for a Particular Purpose and
                       Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

       88.    The Product was manufactured, identified, marketed and sold by Defendant and

expressly and impliedly warranted to Plaintiff and class members that it was made with a non-de

minimis and/or predominant amount of olive oil, as opposed to containing mainly palm and canola

oil.

       89.    Defendant directly marketed the Product to Plaintiff and consumers through its

advertisements and marketing, through various forms of media, on the packaging, in print

circulars, direct mail, and targeted digital advertising.

       90.    Defendant knew the product attributes that potential customers like Plaintiff were

seeking and developed its marketing and labeling to directly meet those needs and desires.

       91.    Defendant’s representations about the Product were conveyed in writing and

promised it would be defect-free, and Plaintiff understood this meant that it was made with a non-

de minimis and/or predominant amount of olive oil, as opposed to containing mainly palm and

canola oil.

       92.    Defendant’s representations affirmed and promised that it was made with a non-de

minimis and/or predominant amount of olive oil, as opposed to containing mainly palm and canola

oil.

       93.    Defendant described the Product so Plaintiff and consumers believed it was made

with a non-de minimis and/or predominant amount of olive oil, as opposed to containing mainly

palm and canola oil, which became part of the basis of the bargain that it would conform to its

affirmations and promises.

       94.    Defendant had a duty to disclose and/or provide non-deceptive descriptions and

marketing of the Product.


                                                  11
                         2:22-cv-02061-CSB-EIL # 1           Page 12 of 15




         95.   This duty is based on Defendant’s outsized role in the market for this type of Product,

a trusted company, known for its transparent labeling, and its commitment to putting customers

first.

         96.   Plaintiff recently became aware of Defendant’s breach of the Product’s warranties.

         97.   Plaintiff provided or will provide notice to Defendant, its agents, representatives,

retailers, and their employees.

         98.   Plaintiff hereby provides notice to Defendant that it breached the express and implied

warranties associated with the Product.

         99.   Defendant received notice and should have been aware of these issues due to

complaints by third-parties, including regulators, competitors, and consumers, to its main offices,

and by consumers through online forums.

         100. The Product did not conform to its affirmations of fact and promises due to

Defendant’s actions.

         101. The Product was not merchantable because it was not fit to pass in the trade as

advertised, not fit for the ordinary purpose for which it was intended and did not conform to the

promises or affirmations of fact made on the packaging, container or label, because it was marketed

as if it was made with a non-de minimis and/or predominant amount of olive oil, as opposed to

containing mainly palm and canola oil.

         102. The Product was not merchantable because Defendant had reason to know the

particular purpose for which the Product was bought by Plaintiff, because he expected it was made

with a non-de minimis and/or predominant amount of olive oil, as opposed to containing mainly

palm and canola oil, and he relied on Defendant’s skill and judgment to select or furnish such a

suitable product.




                                                  12
                        2:22-cv-02061-CSB-EIL # 1          Page 13 of 15




       103. Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                                       Negligent Misrepresentation

       104. Defendant had a duty to truthfully represent the Product, which it breached.

       105. This duty was non-delegable, and based on Defendant’s position, holding itself out

as having special knowledge and experience in this area, a trusted company, known for its

transparent labeling, and its commitment to putting customers first.

       106. Defendant’s representations and omissions regarding the Product went beyond the

specific representations on the packaging, as they incorporated the extra-labeling promises and

commitments to quality, transparency and putting customers first, that it has been known for.

       107. These promises were outside of the standard representations that other companies

may make in a standard arms-length, retail context.

       108. The representations took advantage of consumers’ cognitive shortcuts made at the

point-of-sale and their trust in Defendant.

       109. Plaintiff and class members reasonably and justifiably relied on these negligent

misrepresentations and omissions, which served to induce and did induce, their purchase of the

Product.

       110. Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                                              Fraud

       111. Defendant misrepresented and/or omitted the attributes and qualities of the Product,

that it was made with a non-de minimis and/or predominant amount of olive oil, as opposed to

containing mainly palm and canola oil.




                                                13
                         2:22-cv-02061-CSB-EIL # 1           Page 14 of 15




       112. Moreover, the records Defendant is required to maintain, and/or the information

inconspicuously disclosed to consumers, provided it with actual and constructive knowledge of

the falsity and deception, through statements and omissions.

       113. Defendant knew of the issues described here yet did not address them.

       114. Defendant’s fraudulent intent is evinced by its knowledge that the Product was not

consistent with its representations.

                                         Unjust Enrichment

       115. Defendant obtained benefits and monies because the Product was not as represented

and expected, to the detriment and impoverishment of Plaintiff and class members, who seek

restitution and disgorgement of inequitably obtained profits.

                                 Jury Demand and Prayer for Relief

Plaintiff demands a jury trial on all issues.

    WHEREFORE, Plaintiff prays for judgment:

   1. Declaring this a proper class action, certifying Plaintiff as representative and the

       undersigned as counsel for the class;

   2. Entering preliminary and permanent injunctive relief by directing Defendant to correct the

       challenged practices to comply with the law;

   3. Injunctive relief to remove, correct and/or refrain from the challenged practices and

       representations, and restitution and disgorgement for members of the class pursuant to the

       applicable laws;

   4. Awarding monetary damages, statutory and/or punitive damages pursuant to any statutory

       claims and interest pursuant to the common law and other statutory claims;

   5. Awarding costs and expenses, including reasonable fees for Plaintiff's attorneys and

       experts; and


                                                14
                      2:22-cv-02061-CSB-EIL # 1          Page 15 of 15




   6. Other and further relief as the Court deems just and proper.

Dated: March 22, 2022
                                                      Respectfully submitted,

                                                      /s/Spencer Sheehan
                                                      Sheehan & Associates, P.C.
                                                      Spencer Sheehan
                                                      60 Cuttermill Rd Ste 412
                                                      Great Neck NY 11021
                                                      Tel: (516) 268-7080
                                                      spencer@spencersheehan.com




                                              15
